Case 23-12825-MBK Doc 614-13 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 12 to Declaration of Daniel J. Merrett Page 1 of 3



                                 EXHIBIT 12
   Case 23-12825-MBK Doc 614-13 Filed 05/26/23 Entered 05/26/23 23:11:45                                      Desc
                Exhibit 12 to Declaration of Daniel J. Merrett Page 2 of 3
                        SUPERIOR COURT OF NEW JERSEY

           CHAMBERS OF                                                                 MIDDLESEX COUNTY COURT HOUSE
      ANA C. VISCOMI, J.S.C.                                                                    P.O. BOX 964
             JUDGE                                                                   New Brunswick, New Jersey 08903-0964




                                                   April 26, 2023



Via E-Mail
TO: All plaintiffs’ counsel who have J & J Talc matters venued in Middlesex County


RE:      Scheduling of cases for case management and trial

Dear Counsel:

The court is in receipt of U.S. Bankruptcy Judge Michael Kaplan’s ruling in connection with the matter
pending before him. As the court understands the ruling, no cases may be scheduled to proceed to trial any
earlier than June 20, 2023, absent any further ruling.

The court is now in receipt of a motion to consolidate approximately 22 cases for trial. As counsel who
attended the recent NJ asbestos seminar are aware, I authorized the Special Master to advise that the court
would schedule a meeting for all talc meso plaintiffs’ counsel and J & J counsel, when and if, the injunction
was lifted, and the bankruptcy case was dismissed. As counsel are also aware, the court has historically sua
sponte, consolidated cases. Therefore, motions to consolidate cases being filed by every plaintiff’s law firm
only delay the court’s consideration of the issue. The court at this juncture would request the law firm that
has filed the motion to withdraw it without prejudice and request that no motions to consolidate J & J cases
be filed at this time.

However, the court would request all plaintiffs’ counsel send the following information to the court with a
copy to J & J counsel within 2 weeks; May 10, 2023. Please organize this information in a chart format.
With regard to any and all cases for which J & J (and related/affiliated entities) is the ONLY defendant,
please identify:

   1.    Name of case and docket number
   2.    Specific disease; i.e., pleural mesothelioma or peritoneal mesothelioma
   3.    Living or deceased
   4.    Alleged years of exposure in connection with a specific powder product
   5.    State or states of residences
   6.    Other alternate alleged exposure(s)
   7.    Brief statement as to status of discovery to include whether a case management conference or conferences
         have been held; identification of any depositions that have been completed; identification of all experts and
         date by which reports have been served.
      Case 23-12825-MBK Doc 614-13 Filed 05/26/23 Entered 05/26/23 23:11:45                         Desc
                   Exhibit 12 to Declaration of Daniel J. Merrett Page 3 of 3




Counsel for J & J should likewise respond as to status of discovery within two weeks (May 24, 2023) of
receipt of this information.

Once I review this information, I will proceed forward with appropriate consolidations, if the bankruptcy
case is dismissed. I will also schedule a meeting within two weeks if the bankruptcy case is dismissed. My
trial calendar is presently set through the early Fall and even assuming resolutions of those cases, I would
not be scheduling a J & J trial before July 31, 2023.

Special Master Dzikiewicz will consider any applications for recommendations for de bene esse depositions
and conduct individual case management conferences as requested.

Thank you for your attention to this matter. Your anticipated cooperation is greatly appreciated.




                                                            Very truly yours,

                                                            /s/ Ana C. Viscomi
                                                            ANA C. VISCOMI, J.S.C.

ACV/lj
cc:      John C. Garde, Esq.
         Agatha Dzikiewicz, Esq., Special Master




April 26, 2023 letter to plaintiff’s re: J&J talc cases                                              2
